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        Notice of Intent to Sell Nonpublic Personal Information - February 6, 2003      1

   ·1· · · · · · · · · · · ·STATE OF UTAH
   · · · · · · · · · · · COUNTY OF SALT LAKE
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   · · · · · · · · ·Utah House of Representatives
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   · · · · · · · · · · · 2003 General Session
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   · · · · · · · · · Sponsor:· Douglas C. Aagard
   ·9

   10· · · · · · ·NOTICE OF INTENT TO SELL NONPUBLIC
   · · · · · · · · · · ·PERSONAL INFORMATION
   11

   12· · · · · · · · · · Date of Proceeding:
   · · · · · · · · · ·Thursday, February 6, 2003
   13

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   · · · · · · · · ·Utah House of Representatives
   15· · · · · · · · ·350 North State, Suite 350
   · · · · · · · · · Salt Lake City, Utah 84114
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   19· · · · · · · · · · · Transcribed by:
   · · · · · · · · ·Dianne N. Sarkisian, Certified
   20· · · · · · · · Stenographic Court Reporter

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   · · · · · · · ·Transcription Date:· March 14, 2024
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                                      EXHIBIT A
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   ·1· · · · · · · · · · (Proceedings in Progress.)
   ·2· · · · · · · · · · · · · · · ***
   ·3· · · · · · · · · ·SPEAKER PRO TEM:· Representative Aagard...
   ·4· · · · · · · · · ·MR. AAGARD:· Thank you, Mr. Speaker Pro Tem.
   ·5· · · · · · · · · ·This is in reference to HB 40.
   ·6· · · · · · · · · ·I'd like to delete, in title and body, HB
   ·7· · · · 40, replacing the first substitute HB 40.
   ·8· · · · · · · · · ·SPEAKER PRO TEM:· Just a minute.
   ·9· · · · · · · · · ·MR. AAGARD:· Sorry, move to uncircle.
   10· · · · · · · · · ·SPEAKER PRO TEM:· There's a motion to
   11· · · · uncircle House Bill 40.
   12· · · · · · · · · ·Discussion to the motion to uncircle?
   13· · · · · · · · · ·(No Response.)
   14· · · · · · · · · ·SPEAKER PRO TEM:· Seeing none, back --
   15· · · · · · · · · ·(Mr. Aagard cross-talking.)
   16· · · · · · · · · ·SPEAKER PRO TEM:· -- to its sponsor to
   17· · · · explain his motion to uncircle.
   18· · · · · · · · · ·MR. AAGARD:· I...· I want to act on this
   19· · · · bill and provide a substitute, so...
   20· · · · · · · · · ·SPEAKER PRO TEM:· Okay.· That's the
   21· · · · summation?
   22· · · · · · · · · ·Then, all in favor of uncircling House Bill
   23· · · · 40 say "aye."
   24· · · · · · · · · ·(Aye.)
   25· · · · · · · · · ·SPEAKER PRO TEM:· Those opposed say "no."




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   ·1· · · · · · · · · ·(No Response.)
   ·2· · · · · · · · · ·SPEAKER PRO TEM:· Motion passes.· The bill
   ·3· · · · is uncircled and before us.
   ·4· · · · · · · · · ·MR. AAGARD:· Thank you for your --
   ·5· · · · · · · · · ·SPEAKER PRO TEM:· Now, proceed.
   ·6· · · · · · · · · ·MR. AAGARD:· -- patience, Mr. Chair.
   ·7· · · · · · · · · ·I would like to delete, in title and body,
   ·8· · · · HB 40, protection of nonpublic personal information,
   ·9· · · · and replace it with first substitute HB 40, notice of
   10· · · · intent to sell nonpublic personal information.
   11· · · · · · · · · ·If I can speak to that, just briefly?
   12· · · · · · · · · ·UNIDENTIFIED SPEAKER:· Do I have to repeat
   13· · · · that motion?
   14· · · · · · · · · ·SPEAKER PRO TEM:· Okay.· If you'll speak to
   15· · · · that?
   16· · · · · · · · · ·MR. AAGARD:· We're changing the title
   17· · · · because it more correctly reflects what the intent of
   18· · · · this bill is, and it's incorporating some fine-tuning
   19· · · · amendments that took place in committee.· So it's just
   20· · · · getting it in one bill.
   21· · · · · · · · · ·SPEAKER PRO TEM:· Okay.· The motion is that
   22· · · · we delete, in title and body, House Bill 40 and replace
   23· · · · it with first substitute House Bill 40.
   24· · · · · · · · · ·All in favor of that action say "aye."
   25· · · · · · · · · ·(Aye.)




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   ·1· · · · · · · · · ·SPEAKER PRO TEM:· And those opposed say
   ·2· · · · "no."
   ·3· · · · · · · · · ·(No Response.)
   ·4· · · · · · · · · ·SPEAKER PRO TEM:· Motion passes.· The bill
   ·5· · · · is before us.
   ·6· · · · · · · · · ·You can proceed with the presentation of the
   ·7· · · · bill.
   ·8· · · · · · · · · ·MR. AAGARD:· Okay.· Now, Mr. Speaker, I'd
   ·9· · · · like to move an amendment under my name, amendment
   10· · · · number 1.
   11· · · · · · · · · ·SPEAKER PRO TEM:· Okay.· The motion is
   12· · · · amendment number 1 under Representative Aagard's name,
   13· · · · dated January 29th, 2003, 8:54 a.m.· We have that.
   14· · · · · · · · · ·So proceed with the explanation of --
   15· · · · · · · · · ·MR. AAGARD:· This amendment --
   16· · · · · · · · · ·SPEAKER PRO TEM:· -- this motion to amend.
   17· · · · · · · · · ·MR. AAGARD:· -- deletes lines 121 through
   18· · · · 126 and inserts the text you have before you.· And it's
   19· · · · just clarifying what we're trying to do in this
   20· · · · language here.· What we had there was unclear and a
   21· · · · little bit cumbersome.· So we're just trying to clean
   22· · · · that part up, so...
   23· · · · · · · · · ·SPEAKER PRO TEM:· Discussion to the motion
   24· · · · to amend?
   25· · · · · · · · · ·(No Response.)




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   ·1· · · · · · · · · ·SPEAKER PRO TEM:· Seeing none, back to the
   ·2· · · · maker of the motion for summation.
   ·3· · · · · · · · · ·MR. AAGARD:· I'll waive.
   ·4· · · · · · · · · ·SPEAKER PRO TEM:· Summation is waived.
   ·5· · · · · · · · · ·All in favor of the motion to amend -- which
   ·6· · · · amendment is amendment number 1, dated January 29th,
   ·7· · · · 2003 -- all in favor of that motion say "aye."
   ·8· · · · · · · · · ·(Aye.)
   ·9· · · · · · · · · ·SPEAKER PRO TEM:· And all opposed say "no."
   10· · · · · · · · · ·(No Response.)
   11· · · · · · · · · ·SPEAKER PRO TEM:· Motion passes.
   12· · · · · · · · · ·Okay.· To the discussion to the bill...
   13· · · · · · · · · ·MR. AAGARD:· What this bill does,
   14· · · · Representatives, is, if a...· It...· It...· If a...· If
   15· · · · a commercial entity conducts a transaction and they
   16· · · · receive personal information from the consumer and they
   17· · · · intend to sell that information for profit or gain,
   18· · · · they need to disclose at the time of the transaction
   19· · · · that that -- that is going to take place by -- by a
   20· · · · notice.
   21· · · · · · · · · ·SPEAKER PRO TEM:· Representative Aagard,
   22· · · · they're having a little trouble hearing you.· If you'd
   23· · · · pull that mic a little closer and speak up?
   24· · · · · · · · · ·MR. AAGARD:· Okay.· This bill just requires
   25· · · · a commercial entity, if they're going to sell public




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   ·1· · · · per- -- or personal information for profit -- that they
   ·2· · · · provide notice to the consumer that they're going to
   ·3· · · · intend to do that.
   ·4· · · · · · · · · ·SPEAKER PRO TEM:· Okay.· Discussion to the
   ·5· · · · bill?
   ·6· · · · · · · · · ·Representative Dougall...
   ·7· · · · · · · · · ·MR. DOUGALL:· Thank you, Mr. Speaker.
   ·8· · · · · · · · · ·Would the sponsor yield to a question?
   ·9· · · · · · · · · ·SPEAKER PRO TEM:· Will the sponsor yield to
   10· · · · a question?
   11· · · · · · · · · ·MR. AAGARD:· Yes.
   12· · · · · · · · · ·SPEAKER PRO TEM:· Okay.· Proceed.
   13· · · · · · · · · ·MR. DOUGALL:· What is the date that this
   14· · · · would be enacted, and would this allow enough time for
   15· · · · businesses to comply with this additional regulation?
   16· · · · · · · · · ·MR. AAGARD:· This...· It'll be...· It'll
   17· · · · pertain to information gathered, become effective May
   18· · · · 5th, '03.· Talking with the business people, they felt
   19· · · · like that was, at least the business people I talked
   20· · · · with, thought that was sufficient time.
   21· · · · · · · · · ·MR. DOUGALL:· Okay.· As I read this bill, I
   22· · · · understand you have to have this notification, you
   23· · · · know, whenever you gather this information.· So that
   24· · · · would require updating forms, websites, lots of
   25· · · · additional information.· If this became law, that only




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   ·1· · · · allows perhaps a month or so for compliance.· I'm
   ·2· · · · concerned that that might not be enough time.· Am I
   ·3· · · · unfounded in that?
   ·4· · · · · · · · · ·MR. AAGARD:· Well, this bill is just going
   ·5· · · · to require a simple notice, as it states in line 114,
   ·6· · · · substantially, that we may choose to disclose nonpublic
   ·7· · · · personal information about you, the consumer, to a
   ·8· · · · third-party for compensation.
   ·9· · · · · · · · · ·That's going to be a simple change for these
   10· · · · business entities to even put on a website, a single
   11· · · · sentence.
   12· · · · · · · · · ·As far as brick-and-mortar retail stores,
   13· · · · they can put a sign on their door or at the checkout
   14· · · · stand.· In discussing with them this idea through the
   15· · · · summer, through the interim process, they feel
   16· · · · comfortable with this.· They didn't have any objection
   17· · · · to it, so...
   18· · · · · · · · · ·MR. DOUGALL:· Mr. Speaker, can I ask a
   19· · · · follow-up question?
   20· · · · · · · · · ·SPEAKER PRO TEM:· Certainly.· Proceed.
   21· · · · · · · · · ·MR. DOUGALL:· Another question I have is, as
   22· · · · I look at the fiscal note, it says -- and I'm not sure
   23· · · · if there was an updated fiscal note that goes along
   24· · · · with this substituted amended bill --
   25· · · · · · · · · ·UNIDENTIFIED SPEAKER:· What was the fiscal




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   ·1· · · · note?
   ·2· · · · · · · · · ·MR. DOUGALL:· -- but it says that some
   ·3· · · · companies now selling this information may see a
   ·4· · · · reduction in sales.
   ·5· · · · · · · · · ·Is it not possible that some companies who
   ·6· · · · are in this business may be pushed out of the state
   ·7· · · · and we will see a loss of jobs and other factors in
   ·8· · · · this state because of the additional regulations we'll
   ·9· · · · have that neighboring states do not have?
   10· · · · · · · · · ·MR. AAGARD:· Representative, that's a good
   11· · · · question.· I don't know what the impact would be.· All
   12· · · · I can tell you is the retailers associations that I've
   13· · · · spoken with have taken a neutral position on this.
   14· · · · I've worked with them closely.· They're not opposed.                      I
   15· · · · think there's a right to privacy that an individual
   16· · · · deserves.
   17· · · · · · · · · ·How they handle this, whether they want to
   18· · · · build into their marketing or whatever, uh, opt-out
   19· · · · provisions, they can do that.· I don't know what the
   20· · · · impact will be.· But the consumer will be informed and
   21· · · · the consumer will have the choice.
   22· · · · · · · · · ·MR. DOUGALL:· Another question is, we get
   23· · · · towards the end of the bill, as I understand it, and
   24· · · · correct me if I'm wrong, it says that a commercial
   25· · · · entity that violates this chapter is liable to the




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   ·1· · · · person who brings the action.
   ·2· · · · · · · · · ·Now, is that the person whose information
   ·3· · · · was distributed without authorization, or is that any
   ·4· · · · person that brings an action?
   ·5· · · · · · · · · ·MR. AAGARD:· That is the consumers whose
   ·6· · · · information was sold.
   ·7· · · · · · · · · ·MR. DOUGALL:· Okay.· And does that...                           I
   ·8· · · · guess my question would also be, does this open us up
   ·9· · · · to somebody whose information was distributed,
   10· · · · searching for who perhaps did it, not knowing which
   11· · · · company did it, and then starting to sue lots of these
   12· · · · companies, trying to figure out who's the one that
   13· · · · distributed it without authorization?
   14· · · · · · · · · ·MR. AAGARD:· I don't think so.
   15· · · · · · · · · ·Like I said, we've studied this.· It's been
   16· · · · a year in study.· And all interested parties that I
   17· · · · know of are okay with the way this thing is written,
   18· · · · and the penalties.· I purposely limited the penalties
   19· · · · just to avoid, uh, to take care of any unintended
   20· · · · consequences.· So I think we're fine.
   21· · · · · · · · · ·MR. DOUGALL:· I would just like to encourage
   22· · · · the body, this is a bill that has some serious
   23· · · · consequences on business, and I understand the intent
   24· · · · of it, but I would encourage you, if you haven't read
   25· · · · it, please read it.· Take five minutes, read the bill,




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   ·1· · · · see what it requires.· Think about the unintended
   ·2· · · · consequences that come along with this.· Thank you.
   ·3· · · · · · · · · ·SPEAKER PRO TEM:· Okay.· Representative
   ·4· · · · Harper...
   ·5· · · · · · · · · ·MR. HARPER:· Thank you.
   ·6· · · · · · · · · ·Will the sponsor yield to question?
   ·7· · · · · · · · · ·SPEAKER PRO TEM:· Will the sponsor yield to
   ·8· · · · a question?
   ·9· · · · · · · · · ·MR. AAGARD:· Yes.
   10· · · · · · · · · ·SPEAKER PRO TEM:· Proceed.
   11· · · · · · · · · ·MR. HARPER:· Will you go through and
   12· · · · highlight, first of all, the differences between your
   13· · · · bill, as amended, and the substitute bill?
   14· · · · · · · · · ·MR. AAGARD:· Let's see.· Just let me find it
   15· · · · here, just a second.
   16· · · · · · · · · ·I apologize for that, Representative.
   17· · · · · · · · · ·On the original bill, page 2, line 55, we
   18· · · · inserted the definition of some clarifying language on
   19· · · · consumer transaction on pages 4 to 5, lines 119 to 125.
   20· · · · We deleted the lines 119 to 125.· On page 5, line 130,
   21· · · · we inserted the effective date.· And I think that
   22· · · · covers most of the changes.· It was changes made in
   23· · · · committee.
   24· · · · · · · · · ·MR. HARPER:· Okay.· The purpose of this bill
   25· · · · is to go through and restrict businesses' ability to go




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   ·1· · · · through and gather personal information or just share
   ·2· · · · it with nonrelated parties or share it -- not share it
   ·3· · · · internally with related institutions?· Could you flesh
   ·4· · · · that out a little bit?
   ·5· · · · · · · · · ·MR. AAGARD:· Yeah, good question.
   ·6· · · · · · · · · ·The purpose of this bill, I'm not trying to
   ·7· · · · restrict necessarily as to, just to provide notice to a
   ·8· · · · consumer that their information is going to be sold,
   ·9· · · · and that's the sole purpose of the private information.
   10· · · · · · · · · ·If a company gathers that information and
   11· · · · sells it for the sole purpose of making a profit, then
   12· · · · I feel that needs to be disclosed.· If it's to be made
   13· · · · whole in a transaction, they're not impacted by this
   14· · · · bill.
   15· · · · · · · · · ·MR. HARPER:· Okay.· But your overall intent
   16· · · · of this is to go through and identify the need for
   17· · · · securing information and having a person, when it falls
   18· · · · under the purview of the state, go through and be able
   19· · · · to restrict the amount of personal information that is
   20· · · · available; is that correct?
   21· · · · · · · · · ·MR. AAGARD:· To notify the consumer.                            I
   22· · · · guess I'm not sure what you mean by restricting the
   23· · · · information.
   24· · · · · · · · · ·MR. HARPER:· Okay.· This is a notification.
   25· · · · It's not any ability to go through and restrict the --




                                                                                             YVer1f
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   ·1· · · · · · · · · ·MR. AAGARD:· Right.· I'm not prohibiting the
   ·2· · · · business of selling this information.· It's strictly
   ·3· · · · notice.· If they want to sell it, they can sell it,
   ·4· · · · that's fine.
   ·5· · · · · · · · · ·MR. HARPER:· Okay.· So what option does the
   ·6· · · · consumer have other than the notice if they don't want
   ·7· · · · that information released to somebody else or sold to
   ·8· · · · someone else?
   ·9· · · · · · · · · ·MR. AAGARD:· Well, I...· My intent on this
   10· · · · is, if I go into a store and I see that notice that
   11· · · · they're going to sell my information, then I would need
   12· · · · to make a choice as to whether I want to conduct a
   13· · · · transaction with that business or go elsewhere.· I did
   14· · · · not want to force the business to change their policies
   15· · · · with opt-out or opt-in.· If they feel like, to comply
   16· · · · with this they want to do that, they can.· But I want
   17· · · · it to be the consumer choice.
   18· · · · · · · · · ·MR. HARPER:· I appreciate what you're doing.
   19· · · · A lot of the groups are pushing more for the opt-out
   20· · · · and opt-in.· The notice is an essential part of what
   21· · · · needs to be done to help the residents of the state of
   22· · · · Utah and elsewhere to understand the choices they make,
   23· · · · to have informed choices.· I think there's some other
   24· · · · questions that others might have with some of the
   25· · · · sections, but I commend you for what you're trying to




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   ·1· · · · do, at least giving the notice and information out.
   ·2· · · · · · · · · ·SPEAKER PRO TEM:· Representative Buffmire...
   ·3· · · · · · · · · ·MS. BUFFMIRE:· Thank you, Mr. Speaker.
   ·4· · · · · · · · · ·Would the representative -- let's see, I
   ·5· · · · haven't done this yet -- would -- would yield?
   ·6· · · · · · · · · ·And can I ask a question?
   ·7· · · · · · · · · ·SPEAKER PRO TEM:· Yes.
   ·8· · · · · · · · · ·Will the sponsor yield to a question?
   ·9· · · · · · · · · ·MR. AAGARD:· Yes --
   10· · · · · · · · · ·MS. BUFFMIRE:· Thank you.
   11· · · · · · · · · ·MR. AAGARD:· -- yes, ma'am.
   12· · · · · · · · · ·MS. BUFFMIRE:· Thank you.
   13· · · · · · · · · ·SPEAKER PRO TEM:· Proceed.
   14· · · · · · · · · ·MS. BUFFMIRE:· I'm sorry.· I...· I don't
   15· · · · know if I'm speaking for or against your bill, so
   16· · · · that's why the -- the question.
   17· · · · · · · · · ·SPEAKER PRO TEM:· You need to speak up.                         I
   18· · · · can't hear you.
   19· · · · · · · · · ·MS. BUFFMIRE:· Oh, goody.
   20· · · · · · · · · ·SPEAKER PRO TEM:· Hold that microphone real
   21· · · · close.
   22· · · · · · · · · ·MS. BUFFMIRE:· Okay.· You know, to me, it's
   23· · · · the timing.· I don't know if you've gone far enough.
   24· · · · · · · · · ·One of the real irritations in my life is to
   25· · · · get once every, it seems like a few months -- it's




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   ·1· · · · probably every year -- the same people sending me the
   ·2· · · · same notice that I have written and said that I do not
   ·3· · · · want them to sell any information or sell my name on a
   ·4· · · · list.· And by the time they get the computers shipped,
   ·5· · · · or whatever it is, you've got ten more new people
   ·6· · · · sending me catalogs or something.· And you get this
   ·7· · · · notice again.
   ·8· · · · · · · · · ·I...· And I don't know.· And it really is an
   ·9· · · · irritation to me 'cause I don't know what they consider
   10· · · · personal and what they consider nonpersonal.
   11· · · · · · · · · ·My name, to me, is very personal.
   12· · · · · · · · · ·And they're selling lists everywhere.· And
   13· · · · so I don't know if you go far enough.· Could you
   14· · · · address that in any way?· Because if, even someplace,
   15· · · · you said, once it's there, they can't sell it in the
   16· · · · future until they've been notified they can.
   17· · · · · · · · · ·MR. AAGARD:· Representative, that's a real
   18· · · · good question.· I really struggled with that over this
   19· · · · past year.· The thing I discovered with this is, it's
   20· · · · an elephant, it's huge.
   21· · · · · · · · · ·MS. BUFFMIRE:· I know.
   22· · · · · · · · · ·MR. AAGARD:· And my course of action, what
   23· · · · I've chosen to do is take one bite at a time on this
   24· · · · and deal with things as they move along.· I don't want
   25· · · · to move too fast 'cause we need to be very careful for




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   ·1· · · · this type of issue just because of where it reaches.
   ·2· · · · · · · · · ·This isn't the end on this thing.· I plan on
   ·3· · · · doing some more things with this.
   ·4· · · · · · · · · ·MS. BUFFMIRE:· Okay.
   ·5· · · · · · · · · ·MR. AAGARD:· So I'm just trying to take a
   ·6· · · · cautious approach so that we don't have some problems.
   ·7· · · · · · · · · ·MS. BUFFMIRE:· I appreciate that answer.
   ·8· · · · Thank you.· I just...· I wish we could do something to
   ·9· · · · protect this invasion, it seems to me, of any
   10· · · · information we have.· Thank you.
   11· · · · · · · · · ·SPEAKER PRO TEM:· Thank you.
   12· · · · · · · · · ·Representative Wallace...
   13· · · · · · · · · ·MS. WALLACE:· Thank you, Mr. Speaker Pro
   14· · · · Tem.
   15· · · · · · · · · ·While I have a certain amount of
   16· · · · disappointment because this bill does not go nearly far
   17· · · · enough regarding privacy and private information of all
   18· · · · individuals, I would support it.
   19· · · · · · · · · ·The concern that we have about businesses
   20· · · · that are operating where they need all of that
   21· · · · information about me, every single bit of it, or about
   22· · · · my neighbors or my family or my friends, I don't think,
   23· · · · just because we exist, that everybody around us has the
   24· · · · right to tiptoe through all of our information and
   25· · · · everything that describes who and what I am.




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   ·1· · · · · · · · · ·We have choice in this country.· We have
   ·2· · · · agency.· We have the right to privacy.· And I think
   ·3· · · · that there comes a time where we have to take the stand
   ·4· · · · and say, okay, this is a line.· You do not get to go
   ·5· · · · beyond that.· And when people are taking that
   ·6· · · · information, selling it for profit so that another
   ·7· · · · individual can use it for profit, I don't think they
   ·8· · · · have the right to do that without my express permission
   ·9· · · · to do so.
   10· · · · · · · · · ·So I applaud the representative for bringing
   11· · · · this forward and would encourage him to tighten up
   12· · · · those privacy laws.· Thank you.
   13· · · · · · · · · ·SPEAKER PRO TEM:· Thank you.
   14· · · · · · · · · ·Representative Shurtliff...
   15· · · · · · · · · ·MS. SHURTLIFF:· Thank you, Mr. Speaker Pro
   16· · · · Tem.
   17· · · · · · · · · ·Would the sponsor yield to some questions?
   18· · · · · · · · · ·SPEAKER PRO TEM:· Will the sponsor yield?
   19· · · · · · · · · ·MR. AAGARD:· Yes.
   20· · · · · · · · · ·SPEAKER PRO TEM:· Proceed.
   21· · · · · · · · · ·MS. SHURTLIFF:· This bill, at this point, is
   22· · · · very confusing to me.· And so just help me a little bit
   23· · · · so I make sure that I'm on the right track.
   24· · · · · · · · · ·If I go into a retail establishment and
   25· · · · purchase something, they often ask for my telephone




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   ·1· · · · domiciled in the state of Utah.
   ·2· · · · · · · · · ·MS. SHURTLIFF:· Okay, thank you.
   ·3· · · · · · · · · ·SPEAKER PRO TEM:· Representative Dunnigan...
   ·4· · · · · · · · · ·MR. DUNNIGAN:· Thank you, Mr. Speaker Pro
   ·5· · · · Tem.· I'd like to reserve the right to make a motion.
   ·6· · · · · · · · · ·SPEAKER PRO TEM:· That right will be so
   ·7· · · · noted.
   ·8· · · · · · · · · ·Proceed.
   ·9· · · · · · · · · ·MR. DUNNIGAN:· I have a question for this
   10· · · · sponsor.
   11· · · · · · · · · ·SPEAKER PRO TEM:· Will the sponsor yield to
   12· · · · a question?
   13· · · · · · · · · ·MR. AAGARD:· Yes.
   14· · · · · · · · · ·SPEAKER PRO TEM:· Proceed.
   15· · · · · · · · · ·MR. DUNNIGAN:· The gist of this bill is just
   16· · · · to require an establishment to post a notice?
   17· · · · · · · · · ·As long as they've done the notice, they've
   18· · · · met the requirement?
   19· · · · · · · · · ·MR. AAGARD:· Yes.
   20· · · · · · · · · ·MR. DUNNIGAN:· Thank you.
   21· · · · · · · · · ·I...· I understand what you're trying to do.
   22· · · · I...· I think the bill's a little confusing and I think
   23· · · · it's a little cumbersome.· I don't think it provides a
   24· · · · great deal of protection to the consumer.· All the
   25· · · · business has got to do is post a notice, and people




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   ·1· · · · will just be used to seeing those, and they'll probably
   ·2· · · · ignore them and not realize it, anyway.
   ·3· · · · · · · · · ·I...· I think the bill might need a little
   ·4· · · · more work.· I think...· The bottom line is, all they
   ·5· · · · have to do is put up a notice and they've satisfied the
   ·6· · · · requirement.· And it's a lot of, a lot of verbiage and
   ·7· · · · a lot of language to accomplish that simple task.· And
   ·8· · · · I, I...· I think it needs a little more work.· And it's
   ·9· · · · pretty confusing to me.
   10· · · · · · · · · ·I would move to circle the bill.
   11· · · · · · · · · ·SPEAKER PRO TEM:· You can only reserve the
   12· · · · right, uh, a motion if you want to make an amendment.
   13· · · · Reserving the right to make a motion and then circling
   14· · · · is out of order.
   15· · · · · · · · · ·MR. DUNNIGAN:· That's what I understood.
   16· · · · But I asked a more experienced legislator if I could
   17· · · · speak and then make a motion.· She assured me that I
   18· · · · could.
   19· · · · · · · · · ·(Laughter.)
   20· · · · · · · · · ·SPEAKER PRO TEM:· Well, if you believe
   21· · · · everything every legislator tells you --
   22· · · · · · · · · ·(Laughter.)
   23· · · · · · · · · ·SPEAKER PRO TEM:· -- I want to talk with
   24· · · · you, real quick.
   25· · · · · · · · · ·MR. DUNNIGAN:· Thank you, Mr. Speaker.




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   ·1· · · · · · · · · ·SPEAKER PRO TEM:· Thank you.
   ·2· · · · · · · · · ·Representative Morgan...
   ·3· · · · · · · · · ·MS. MORGAN:· Thank you, Mr. Speaker Pro Tem.
   ·4· · · · · · · · · ·Will the sponsor yield to a question?
   ·5· · · · · · · · · ·MR. AAGARD:· Yes.
   ·6· · · · · · · · · ·MS. MORGAN:· In looking at the definition of
   ·7· · · · nonpublic personal information, included in that would
   ·8· · · · be a person's Social Security Number.
   ·9· · · · · · · · · ·And I am just wondering if you can tell us
   10· · · · what restrictions are currently in place on these
   11· · · · business entities to keep them from selling this
   12· · · · personal information.
   13· · · · · · · · · ·MR. AAGARD:· If they don't fall under any
   14· · · · federal notice requirements, then there are none.· And
   15· · · · that's what we're trying to get to.
   16· · · · · · · · · ·MS. MORGAN:· Okay.· My concern is that, I
   17· · · · hope we're not opening the door and making them feel
   18· · · · that, if they just give a notice, then it's okay for
   19· · · · them to go ahead and sell this public -- or this non-
   20· · · · personal public...· What is it?· The nonpublic personal
   21· · · · information.· That's my fear.· So I just wanted to make
   22· · · · that comment.· Thank you.
   23· · · · · · · · · ·MR. AAGARD:· Thank you.
   24· · · · · · · · · ·Just in response to that, Legislators, I'm
   25· · · · not trying to encumber.· I'm trying to not encumber




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   ·1· · · · business anymore than I absolutely feel is necessary in
   ·2· · · · this.· I want the individual consumer to take upon
   ·3· · · · themselves the responsibility to follow through on the
   ·4· · · · transaction.· I think they need to be responsible for
   ·5· · · · their choices.· I think this is a good balance at this
   ·6· · · · time.
   ·7· · · · · · · · · ·SPEAKER PRO TEM:· For the discussion,
   ·8· · · · Representative Bryson...
   ·9· · · · · · · · · ·MS. BRYSON:· Thank you, Mr. Speaker.
   10· · · · · · · · · ·I would make a motion to circle.
   11· · · · · · · · · ·SPEAKER PRO TEM:· Really, that's a surprise.
   12· · · · · · · · · ·(Laughter.)
   13· · · · · · · · · ·SPEAKER PRO TEM:· The motion is that we
   14· · · · circle.
   15· · · · · · · · · ·Representative Bryson, proceed.
   16· · · · · · · · · ·Did you want to speak to that?
   17· · · · · · · · · ·MS. BRYSON:· Thank you.· I would.· It is
   18· · · · based on ineptness.· First of all, never give a
   19· · · · freshman legislator any advice.
   20· · · · · · · · · ·The reason that I believe that we should
   21· · · · circle this is because there are a number of questions.
   22· · · · I have some questions concerning the exemptions for a
   23· · · · few select businesses.· I have...· Uh, really, I guess
   24· · · · the basis of my concern has to go back with just the
   25· · · · simplification that I thought might be in the bill as




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   ·1· · · · far as notification and notice.
   ·2· · · · · · · · · ·And as well, I have some concerns about
   ·3· · · · businesses.· I know the sponsor did say that retail
   ·4· · · · businesses have been contacted, but I, myself, have
   ·5· · · · been trying to reach some of the businesses in my
   ·6· · · · community to see just how cumbersome this might be.
   ·7· · · · · · · · · ·And so, with that, I would move to circle
   ·8· · · · and hope that the sponsor would be amenable to that.
   ·9· · · · · · · · · ·SPEAKER PRO TEM:· For the discussion to the
   10· · · · motion to circle, Representative Aagard, to the motion
   11· · · · to circle?
   12· · · · · · · · · ·MR. AAGARD:· I'm okay.· I'd be happy to talk
   13· · · · with anybody and clarify the bill, so...
   14· · · · · · · · · ·SPEAKER PRO TEM:· Okay.· Representative
   15· · · · Christensen, to the motion to circle?
   16· · · · · · · · · ·MR. CHRISTENSEN:· Thank you, Mr. Speaker.
   17· · · · · · · · · ·I, for all the reasons mentioned, concur
   18· · · · with the motion to circle, but wanted to highlight
   19· · · · Representative Morgan's concerns.
   20· · · · · · · · · ·I'm concerned that the headline, notice of
   21· · · · intent to sell nonpublic, implies that there's a right
   22· · · · to sell nonpublic information, and I'm not so sure that
   23· · · · that right exists or that it's been adequately defined.
   24· · · · · · · · · ·At a minimum...
   25· · · · · · · · · ·(Proceedings interrupted by




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   ·1· · · · Bill 40.
   ·2· · · · · · · · · ·Those in favor of the motion say "aye."
   ·3· · · · · · · · · ·(Aye.)
   ·4· · · · · · · · · ·SPEAKER PRO TEM:· Oppose, say "no."
   ·5· · · · · · · · · ·("No.")
   ·6· · · · · · · · · ·SPEAKER PRO TEM:· Motion passes.
   ·7· · · · · · · · · ·The bill is circled.
   ·8· · · · · · · · · ·(House Bill 40 discussion concluded.)
   ·9
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   ·6· · · · · · · · · ·I, DIANNE N. SARKISIAN, a Certified

   ·7· · · · Stenographic Court Reporter for the State of Florida

   ·8· · · · at Large, do hereby certify that I transcribed Utah

   ·9· · · · House of Representatives, 2003 General Session, House

   10· · · · Bill 40, Notice of Intent to Sell Nonpublic Personal

   11· · · · Information, held on February 6, 2003; that the

   12· · · · foregoing constitute a true, complete record of my

   13· · · · transcription.

   14

   15· · · · · · · · · ·I further certify that I am not an attorney

   16· · · · or counsel of any of the parties, nor related to any

   17· · · · of the parties, nor financially interested in the

   18· · · · action.

   19

   20· · · · · · · · · ·Dated this 14th day of MARCH 2024.

   21

   22
   · · · · · · · · · · · · · · · · _____________________________
   23· · · · · · · · · · · · · · · Dianne N. Sarkisian
   · · · · · · · · · · · · · · · · Notary Public - State of Florida
   24· · · · · · · · · · · · · · · My Commission No. HH 483698
   · · · · · · · · · · · · · · · · Expires:· 02-18-2028
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